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Angela Tese-Milner, Esq.
The Law Firm of Tese & Milner
735 Wickham Avenue
P.O. Box 35
Mattituck, New York 11952
212-475-3673

Attorneys for the Chapter 7 Trustee,
Angela Tese-Milner, Esq.

 UNITED STATES BANKRUPTCY COURT
 SOUTHEN DISTRICT OF NEW YORK                    X
 In re:
      Kelly Watson ,                                      Case No. 19-10253 (MG)
                                                              Chapter 7 Case
                                Debtor.

                                                 X

     TRUSTEE’S OBJECTION TO DEBTOR’S REQUEST FOR LOSS MITIGATION
                               ORDER

TO THE HONORABLE MARTIN GLENN,
UNITED STATES BANKRUPTCY JUDGE:

               Angela Tese-Milner, Esq., the Chapter 7 trustee (hereinafter “Trustee”) for the

estate of Kelly Watson a/k/a Kelly Sue Watson (hereinafter “Debtor”) joins in the Objection of

Nationstar Mortgage LLC ("Nationstar") as Servicer for The Bank of New York Mellon f/k/a

The Bank of New York as successor in interest to JP Morgan Chase Bank, N.A. as Trustee for

Structured Asset Mortgage Investments II Trust 2006-AR6 Mortgage Pass-Through Certificates

Series 2006-AR6 (the "Investor"), to the Debtor’s application for loss mitigation, and represents

as follows:

1.     On or about January 29, 2019, the Debtor filed a voluntary petition (hereinafter

“Petition”) under Chapter 7 of Title 11 of the United States Code (hereinafter “Bankruptcy

Code”). A 341 meeting of creditors was held on February 28, 2019, and Angela Tese-Milner

became the permanent Trustee.
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    2. The Debtor is a serial filer and has filed a Chapter 13 bankruptcy petition, Case No. 15-

11956 (jlg) on 07/25/2015, which was dismissed.

    3. The United States Bankruptcy Court Southern District of New York Loss Mitigation

Program Procedures define property subject to Loss Mitigation as: “ B. PROPERTY- The term

“Property” means any real property or cooperative apartment used as a principal residence in

which an eligible Debtor holds an interest.” The property which the Debtor has proposed for

Loss Mediation is 9 a single family residence located at 2 NE 48th Street, Miami, Florida 33137

(hereinafter “Property”). The Property is an investment property, which provides the Debtor

with rental income, and is not the Debtor’s principal residence. The Debtor is a resident of New

York City according to her Bankruptcy Petition. Accordingly, the Debtor’s investment property

does not qualify for loss mediation.

    4. The Trustee has contacted the secured creditor, and is investigating whether the Property

could have residual value for the benefit of the estate.


 Dated: New York, New York
        March 14, 2019
                                                  By: /s/A .Tese-Milner, Esq.
                                                     Angela Tese-Milner, Esq.
                                                     The Law Firm of Tese & Milner
                                                     735 Wickham Avenue
                                                     P.O. Box 35
                                                     Mattituck, New York 11952
                                                     212-475-3673




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